   Case:
 Case:    1:17-md-02804 Doc
       1:17-md-02804-DAP    #: 1864-1
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                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION
OPIATE LITIGATION
                                              MDL No. 2804
This document relates to:                     Case No. 17-md-2804
                                              Judge Dan Aaron Polster
County of Summit, Ohio, et al. v. Purdue
Pharma L.P., et al.,
Case No. 18-op-45090 (N.D. Ohio)

The County of Cuyahoga, Ohio, et al. v.
Purdue Pharma L.P., et al.,
Case No. 17-op-45004 (N.D. Ohio)


           SUMMARY SHEET FOR MOTION FOR SUMMARY JUDGMENT
                          OF WALMART INC.
  Case:
Case:    1:17-md-02804 Doc
      1:17-md-02804-DAP    #: 1864-1
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    Discovery has confirmed that Defendant Walmart Inc. (“Walmart”) does not belong in
     this litigation. Walmart did not manufacture or market opioids. Plaintiffs do not allege
     that Walmart was part of any kind of RICO enterprise. And Plaintiffs have forsworn any
     argument that Walmart’s pharmacists did anything wrong when they filled prescriptions.

    Plaintiffs’ claims focus on Walmart’s conduct as a distributor, but Walmart distributed
     only to its own pharmacies—not “rogue” internet pharmacies, pill mills, or pain clinics.
     Plaintiffs’ expert witnesses offer no opinions about Walmart’s conduct as a distributor.

    For the Walmart pharmacies in the relevant jurisdictions, the percentage of controlled
     substances (including, but not limited to, opioids) among all prescriptions dispensed fell
     significantly below the benchmark that the DEA has declared appropriate. Above all,
     Walmart’s distribution to its pharmacies accounts for a vanishingly small percentage of
     the distribution of opioids to Cuyahoga and Summit Counties.

    Plaintiffs cannot prove that Walmart’s distribution to its own pharmacies proximately
     caused their asserted harm, particularly given Walmart’s miniscule market share in the
     relevant jurisdictions. There is no evidence of any actual diversion of opioids from
     Walmart’s supply chain to the illicit market.

    Discovery has also confirmed that Plaintiffs’ allegations of regulatory violations do not
     fit within any viable cause of action. Plaintiffs have focused their discovery efforts on
     Walmart’s compliance with the Controlled Substances Act (“CSA”), but even if Plaintiffs
     have a right of action to enforce that law (and they do not), the record shows that
     Walmart complied with the CSA at all times.

    Plaintiffs’ statutory nuisance claim must be dismissed as moot, because that claim is
     limited to injunctive relief and Walmart no longer distributes opioids.

    Plaintiffs’ common law nuisance claim fails because Walmart did not create a public
     nuisance by distributing a lawful medication to its own pharmacies. Walmart did not
     distribute opioids to internet pharmacies, pill mills, or pain clinics; Walmart did not
     market opioids; and, given its market share, Walmart in no way “flooded” the market.

    Walmart also was not negligent. There is no evidence that Walmart negligently created or
     contributed to a black market for opioids—much less that a black market was a
     foreseeable result of Walmart’s distribution to its own pharmacies.

    Plaintiffs’ remaining claims fail as well: They cannot recover for injury through criminal
     acts because (among other things) there is no evidence that Walmart committed any
     crime. Walmart was not unjustly enriched by its distribution of a lawful medication.
     And there is no evidence entitling Plaintiffs to punitive damages.
